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                            UNITED STATE DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

SUSAN AND JACOB SCHWANDER           *                CIVIL ACTION NO. 2:14-cv-01240
                                    *
VERSUS                              *                JUDGE: JAY C. ZAINEY
                                    *
DR. BRANDT M. ZIMMER, M.D. AND *                     MAGISTRATE: DANIEL E. KNOWLES
DIAGNOSTIC IMAGING SERVICES, *
INC.                                *
                                    *
*************************************

                          NOTICE OF VOLUNTARY DISMISSAL

       NOW INTO COURT, through undersigned counsel come the Plaintiffs, Susan and Jacob

Schwander (“Plaintiffs” hereafter) who, pursuant to Fed.R.Civ.P. 41 (a)(1) hereby voluntarily

dismiss the above-identified civil action without prejudice, each party to bear their own costs..



                                             Respectfully submitted,

                                             CHOPIN, WAGAR, RICHARD
                                                 & KUTCHER, L.L.P.


                                             By: /s/ Nelson W. Wagar, III
                                                 NELSON W. WAGAR III (#13136), T.A.
                                                 SARAH NEY (#25471)
                                             Two Lakeway Center
                                             3850 N. Causeway Boulevard, Suite 900
                                             Metairie, Louisiana 70002
                                             Telephone: (504) 830-3838
                                             Facsimile: (504) 836-9540
                                             Attorney for Plaintiffs Susan & Jacob Schwander



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                                       CERTIFICATION OF SERVICE


       I hereby certify that I have on this 28th day of July, 2014, served a copy of the foregoing

pleading on all counsel for all parties by:

       (   )   Hand Delivery                  (   )   Prepaid U. S. Mail

       ( x)    Facsimile/Electronic Mail      (   )   UPS/Federal Express


                                              /s/ Nelson W. Wagar, III
                                              NELSON W. WAGAR, III




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